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13     Attornevs for Defendants
       Namecfieap, [nc. and WhoisGuard, Inc
t4
15
                               I.INITED STATES DISTRICT COURT
r6
                                     DISTRICT OF ARIZONA
I7
18

l9     Facebook, Inc., aDelaware corporation;     No. 2:20-cv-00470-GMS
       Instagram, LLC, a Delaware limited
20     liability company; and WhatsApp Inc., a    DECLARATION OF VERNON
       Delaware corporation,                      EMMANUEL SALAZAR ZIIRITA IN
2l                                                SUPPORT OF DEFENDAIIT
22
                       Plaintiffs,                WHOISGUARD INC.'S MOTION TO
                                                  DISMISS COMPLAINT
23
                v

24     Namecheap, Inc., a Delaware corporation;
       and WhoisGuard Inc., a Republic of         (Oral Argument Requested)
25     Panama corporation,

26                     Defendants.

27

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 1     DECLARATION OF VERNON EMMANUEL SALAZAR ZURITA FOR AND ON
 2                       BEHALF OF BARROWGATE INTERNATIONAL INC.
 3                I, Vernon Emmanuel Salazar Zurita for and on behalf of Barrowgate International
 4     Inc., declare as follows:

 5                1.     I am the Director of Barrowgate International Inc., which is the President of
 6     WhoisGuard, Inc. ("WhoisGutrd"), one of the Defendants in the above-entitled action.l I

 7     make this declaration based on personal knowledge and,           if   sworn as a witness, could

 8     competently testify to the facts set forth herein.     I submit this declaration in support of
 9     WhoisGuard's Motion to Dismiss the Complaint.

10                2.     WhoisGuard is in the business of providing a WHOIS privacy protection
11     service to users who register Internet domain names. In this case, WhoisGuard provides its

T2     services through a partner registrar, Namecheap.

13                3.     WhoisGuard is incorporated under the laws of the Republic of Panama. Its

l4     principal place of business is at Bloc Office Hub, Fifth Floor, Santa Maria Business
15     District, Panama City, Republic of Panama.

16                4.     WhoisGuard has no offices or employees in the State of Arizona. It is not

I7     licensed to do business in the State of Arizona. It pays   no taxes in the State of Arizona. lt
18     maintains no telephone numbers or bank accounts in the State of Arizona.It has no agent

19     for service of process in the State of Arizona.It neither owns nor leases any real estate in
20     the State of Arizona.

2T            5.        As of April 2020, users with an Arizona address represent less than       one

22     percent (approximately 0.9IYo ) of WhoisGuard's total user base for its privacy protection

23     services.

24            6.        True and correct copies of WhoisGuard's Registrant Service Agreement and

25     Terms of Service Agreements, which set forth the terms and conditions for the use of

26

27
                  I Under Panamanian law, directors and officer can be either natural persons or legal
28     entities


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 I     WhoisGuard's services, are attached hereto as Exhibits L and 2, respectively. These

 2     agreements include choice of law, forum selection, and jurisdictional clauses specifring

 J     the Republic of Panama, not Arizona.

 4            7.     WhoisGuard provides its WHOIS privacy protection services to customers

 5     of Namecheap pursuant to a Service Agreement between WhoisGuard and Namecheap.

 6            8.     Contrary   to the allegations of Plaintiffs'     Complaint, WhoisGuard and
 7     Namecheap, Inc. ("Namecheap") are two separate corporations. WhoisGuard maintains its

 8     owrl corporate strucfure and officers, keeps its own books and records, and pays corporate
 9     registration fees and corresponding taxes in Panama. WhoisGuard follows all corporate

10     fonnalities required under the law of the Republic of Panama.

1l            9.     WhoisGuard, not Namecheap, currently owns the whoisguard.com domain.

12            10.    Panama is a sovereign nation and WhoisGuard is organized under the laws

l3     of the Republic of Panama. WhoisGuard is a Panamanian corporation and does not consent

t4     to the assertion ofjurisdiction over it by an Arizona court.

15

I6            I declare under penalty of perjury under the laws of the Republic of Panama and the
t7     laws of the United States that the foregoing is true and con'ect.

i8
T9            EXECUTED this 23'd day of Apri 12020 in Panama Cr ty, Panama.

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     WHOISGUARD REGISTRANT SERVICE AGREEMENT

       WHOISGUARD REGISTRANT SERVICE AGREEMENT


        l   INTRODUCTION
            1.1 This WHOIS Proxy Agreement ("Proxy Agreement") sets forth the terms and conditions of your use of the
            services offered by Whoisguard, Inc., ("Whoisguard"), a Republic of Panama corporation, whether purchased
            directly from Whoisguard or through a registrar offering Whoisguard's WHOIS privacy protection services.

            1.2 In this Proxy Agreement "you" and "your" refer to you or any agent, employee, servant or person
            authorized to act on your behalf, and the Registrant listed in the WHOIS contact information for the domain
            name. This Proxy Agreement explains Whoisguard's obligations to you in connection with your WHOIS privacy
            protection services, and explains your obligations to Whoisguard for privacy protection services offered by third
            Whoisguard.

        2 WHOISGUARD PROXY SERVICES
            2.7 By subscribing to the Whoisguard WHOIS Privacy Protection Services ("WHOIS Privacy Services"), you are
            engaging Whoisguard to substitute its own contact information for your information into the WHOIS database
            for the selected domain name ("Protected Domain"). Thus, your name, postal address, email address, phone
            and fax numbers shall be kept confidential, subject to this Proxy Agreement. The following information (and not
            your personal information) will be made publicly available in the WHOIS directory for each Protected Domain:
             2.1.1An account specific WhoisGuard email address, and WhoisGuard postal address and phone and facsimile
             number for the registrant, administrative, technical, and billing contacts ("WhoisGuard Addresses");

             2.L2The primary and secondary domain name servers you designate forthe Protected Domain;
             2.1.3 The Protected Domain's original date of registration and expiration date; and

             2.1,4 The identity of your registrar, domain name service provider (if different from registrar) and the status
             of the Protected Domain with the registrar (such as, "active," "Registrar Lock," "clienthold," etc.).

       3 YOUR RIGHTS
            3.1You will retain the right to sell, transfer, or assign each Protected Domain.

            3.2 You will retain the right to control and set the DNS settings for the Protected Domain(s).

            3.3 You will retain the right to renew each Protected Domain name registration upon expiration (subject to your
            Whoisguard's applicable rules and policies).

            3.4 You will remain responsible for resolving any and all monetary or other legal claims that arise in connection
            with your Protected Domain(s), subject to the remaining provisions of this Proxy Agreement, your Domain
            Registration Agreement with the Registrar for the Protected Domain and/or Hosting Services Agreement with
            the hosting service provider (collectively, "Agreements").

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        4 YOUR PERSONAL INFORMATION
            4.1 You agree that for each Protected Domain, you will provide to Whoisguard and maintain as current and
            accurate, the following information:
             4.1.1Yourname, address, email address, postal address, phone and fax numbers;
             4.7.2The name/ address, email address, postal address, phone and fax numbersforthe Protected Domain's
             administrative, technical, and billing contacts; and
             4.1.3 The primary and secondary domain name servers for the Protected Domain.

            4.2 You agree to:
             4.2.I      Update this information immediately as it changes over time;

             4.2.2 Respond within five (5) business days to any inquiries made by Whoisguard to determine the validity of
             personal information provided by you;

             4.2.3 Promptly respond to messages regarding correspondence addressed to or involving your Protected
             Domain(s), as more fully set forth below.

            4.3 If you do not supply primary and secondary domain name servers, you agree that Whoisguard or
            Whoisguard may point your Protected Domain(s) to an IP address of its choosing until such time as you supply
            primary and secondary domain name servers.

        5   RENEWAL AND FEES

            5,1 If you have selected automatic renewal of the WHOIS Privacy Services administered by Whoisguard, you
            ag   ree:
             5.1.1 That the WHOIS Privacy Services shall be automatically renewed 30 days prior to the end of term of
             your Domain Name Registration Agreement or Hosting Services Agreement with Whoisguard;

             5.1.2 That Whoisguard will attempt to charge your Whoisguard account at the then current rates;

             5,1.3 That you waive any requirement to obtain your ongoing affirmative consent to any such automatic
             renewal,

            5.2 If you do not wish to automatically renew the WHOIS Privacy Services administered by Whoisguard, you
            agree that the exclusive method for communicating this shall be by logging into your Whoisguard Account to
            ensure that the auto-renewal or renewal option is not selected. You understand that you must do this at least
            31 days prior to the end of the then current Term (as defined below).

            5.3 It is your responsibility to keep necessary funds in your Whoisguard Account, If Whoisguard is unable to
            collect renewal or other fees, you agree that Whoisguard may contact you, but is not obliged to do so, and you
            agree that Whoisguard may suspend or terminate the WHOIS Privacy Services as a result of inability to obtain
            payment.

       6 TERM OF SERVICES
         6.1 You understand that the term of WHOIS Privacy Services administered by Whoisguard begins on the date
         your attempt to purchase the WHOIS Privacy Services is accepted by Whoisguard and that it shall run for the
         unit of time which you order ("Term"). You understand that the Term may be different than the registration
         term of the Protected Domain which is associated with Whoisguard. If a Protected Domain registration expires
         and is deleted before the end of the Term of the associated WHOIS Privacy Services, then the WHOIS Privacy
         Services associated with the domain will end when the Protected Domain is deleted and you understand that
         there will be no refund for any resulting unused portion of the Term. If the Term ends while the registration
         term for the Protected Domain is still ongoing, then the WHOIS Privacy Services will no longer be provided, the
         personal information specified in this Proxy Agreement shall be listed in the public WHOIS Directory output for
         the (then former) Protected Domain, and the communications forwarding services specified in this Proxy
         Agreement will no longer be provided.

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        7 YOUR REPRESENTATIONS & WARRANTIES
            7.1You represent and warrant that all information provided by you pursuant to this Proxy Agreement is
            truthful, complete, current and accurate and you represent and warrant that you will maintain all information in
            this status throughout the term of the Agreements.
            7.2You also represent and warrant that you are using the WHOIS Privacy Services in good faith and that you
            have no knowledge or reason to believe that your Protected Domain or the content found at any associated IP
            address infringes upon or conflicts with the legal rights of any third party or any third party's trademark or
            trade name.

            7.3 You also warrant that neither the WHOIS Privacy Services nor Protected Domain(s) will be used in
            connection with any illegal or morally objectionable activity (as defined below), or, in connection with the
            transmission of unsolicited commercial email(s) ("Spam"). Further, you represent and warrant that you will not
            provide any third party with the WhoisGuard Addresses for the purpose of having such third party transmit
            communications to you through Whoisguard,

        8 SUSPENSION         OR TERMINATION AND DISCLOSURE OF YOUR PERSONAL INFORMATION

            8.1 Notwithstanding your purchase of the WHOIS Privacy Services administered by Whoisguard, Whoisguard
            reserves the right in its sole judgment and discretion to disclose your personal protected information, or
            instruct Whoisguard to disclose such information, in the event any of the following occur:

            8.2 If the Protected Domain(s) is (are) alleged to violate or infringe a third party's trademark, trade name,
            copyright interests or other legal rights of third parties;

            8.3 If you breach any provision of this Proxy Agreement;
            8.4 If you breach any provision of the Agreements incorporated herein by reference;

            8.5 If necessary to comply with any applicable laws, government rules or requirements, subpoenas, court
            orders or requests of law enforcement;

            8.6 If Whoisguard is named as a defendant in, or investigated in anticipation of, any legal or administrative
            proceeding arising out of your use of the WHOIS Privacy Services or a Protected Domain;

            8.7 If necessary to comply with ICANN's Dispute Resolution Policy or other policies promulgated by ICANN;

            8,8 If necessary to avoid any financial loss or legal liability (civil or criminal) on the part of Whoisguard or its
            parent companies, subsidiaries, affiliates, shareholders, agents, officers, directors and employees;

          8.9 If necessary to protect the integrity and stability of the applicable domain name registry; or

         8.10 If it comes to Backend Service Provider's attention that you are alleged to be using the WHOIS Privacy
         Services administered by WhoisGuard for purposes of engaging in, participating in, sponsoring or hiding your
         involvement in illegal or morally objectionable activities, including but not limited to, activities which are
         designed, intended to or otherwise:
             8.10.1 Appeal primarily to prurient interests;

             8.10,2 Defame, embarrass, harm, abuse, threaten, or harass;

             8.10.3 Violate state or federal laws of the united states and/or foreign territories;

             8.10.4 Involve hate crimes, terrorism or child pornography;

             8.10.5 Are tortious, vulgar, obscene, invasive of a third party's privacy, race, ethnicity, or are otherwise
             objectionable;

             8.10.6 Impersonate the identity of a third party;

             8,10,7 Harm minors in any way; or


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            8.10,8 Relate to or transmit viruses, trojan horses, access codes, backdoors, worms, timebombs or any other
            code, routine, mechanism, device or item that corrupts, damages, impairs, interferes with, intercepts or
            misappropriates any software, hardware, firmware, network, system, data or personally identifiable
            information.

          8.11 In the event Whoisguard decides to take any of the actions set forth above or in the event you elect to
          cancel the WHOIS Privacy Services administered by Whoisguard for any reason, Whoisguard shall not be liable
          for fees paid by you for the WHOIS Privacy Services administered by Whoisguard.

        9 COMMUNICATIONS
          9.1 You agree that from time to time, Whoisguard (and if applicable, Whoisguard) will review communications
          sent to the WhoisGuard Addresses associated with your Protected Domain.

          9.2 For communications received via certified or traceable courier mail (such as UPS, FedEx, or DHL), or first
          class mail which does not appear to be unsolicited commercial mail, you agree that Whoisguard may either i)
          forward such communication to you or ii) may attempt to communicate to you a scanned copy of a page of the
          communication to ascertain how you wish Whoisguard to proceed with respect to that communication.

          9.3 You understand that Whoisguard may, in its own judgment and discretion, elect to not forward to you such
          first class postal mail or email, fax, postal mail or telephone communications which appear to be unsolicited
          communications, which offer or advertize the sale of goods or services or which solicit charitable contributions,
          or communications which appear to arise from your use of the WHOIS Privacy Services administered by
          Whoisguard as a general mail forwarding service, You authorize Whoisguard to either discard all such
          communications or return all such communications to sender unopened.

          9.4 You agree to waive any and all claims arising from your failure to receive communications directed to your
          domain name but not forwarded to you by Whoisguard, including such failures which arise from Whoisguard's
          mistake of judgment made in good faith in determining whether a communication is or is not an unsolicited
          communication.

          9.5 The public WHOIS Directory generally requires an email address for every purchased domain name
          registration. When you purchase WHOIS Privacy Services administered by Whoisguard, an email address will be
          automatically generated for the corresponding Protected Domain (e.9. XXXXXX.protect@whoisguard.com).
          Thereafter, when messages are sent to the email address listed in the WhoisGuard Address, Whoisguard will
          forward such messages to the email address you provided to WhoisGuard, in accordance with this Proxy
          Agreement. If such email address becomes non-functioning or if the email to such address bounces,
          WhoisGuard shall not be obligated to attempt to contact you through other means. You agree that WhoisGuard
          may elect in its sole discretion, to allow you to access the email server logs if available and view email
          information sent to the Whoisguard Addresses, though such alternative means of servicing your Account is an
          option and not a requirement.

         9.6 When Whoisguard receives a communication to the Protected Domain, Whoisguard will send an email to the
         email address you provided to Whoisguard in accordance with this Proxy Agreement. The email message from
         Whoisguard to you will identify the sender of the correspondence and the date received. As an alternative, you
         agree that Whoisguard may allow you to access your account to view full or partial scanned copies of (non-
         email) communications sent to the Protected Addresses and that you may be required to interact with your
         account to have the physical originals of such communications forwarded to you and that if you do not interact
         with your account in the ways indicated upon accessing your account, that the communications may not be
         forwarded to you. In either event, you will have seventy-two (72) hours to decide whether to have the
         communication(s) forwarded, If you do not respond within this time period, the communication(s) will not be
         forwarded, Method of forward will be determined by Whoisguard. Communication(s) may not be immediately
         forwarded upon your election; there may be a delay and communication(s) may be aggregated to be forwarded
         together.

         9.7 You agree to submit to fees where Whoisguard may begin charging fees for forwarding communications or
         may change the method by which communications are forwarded without written notice.

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          9.8 In the event you do not respond to communications from Whoisguard, irrespective of whether Whoisguard
          is forwarding an email or making an unrelated inquiry or communication, Whoisguard may immediately reveal
          the information you provided in accordance with this Proxy Agreement and/or cancel the WHOIS Privacy
          Services regarding either the Protected Domain in question or with respect to all of your Protected Domains,
          depending on the circumstances, This means the Whois directory will revert to displaying your name, postal
          address, email address and phone number.

        10 LIMITATION OF LIABILITY
          10,1 UNDER NO CIRCUMSTANCES SHALL WHOISGUARD BE LIABLE FOR ANY DIRECT, INDIRECT, INCIDENTAL,
          PUNITIVE, SPECIAL, OR CONSEQUENTIAL DAMAGES FOR ANY REASON WHATSOEVER RELATED TO THIS
          PROXY AGREEMENT, YOUR DOMAIN NAME REGISTMTION, THE WHOIS PRIVACY SERVICES ADMINISTERED BY
          WHOISGUARD, YOUR USE OR INABILITY TO USE THE WHOISGUARD WEBSITE(S) OR THE MATERIALS AND
          CONTENT OF THE WEB SITE(S) OR ANY OTHER WEB SITES LINKED TO SUCH WEB SITE(S) OR YOUR
          PROVISION OF ANY PERSONALLY IDENTIFIABLE INFORMATION TO BACKEND SERVICE PROVIDER OR ANY
          THIRD PARTY. THIS LIMITATION APPLIES REGARDLESS OF WHETHER THE ALLEGED LIABILIry IS BASED ON
          CONTRACT, TORT, WARRANTY, NEGLIGENCE, STRICT LIABILIry OR ANY OTHER BASIS, EVEN IF WHOISGUARD
          HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES OR SUCH DAMAGES WERE REASONABLY
          FORESEEABLE. BECAUSE CERTAIN JURISDICTIONS DO NOT PERMIT THE LIMITATION OR ELIMINATION OF
          LIABILIry FOR CONSEQUENTIAL OR INCIDENTAL DAMAGES, WHOISGUARD'S LIABILIry IN SUCH
          JURISDICTIONS SHALL BE LIMITED TO THE GREATEST EXTENT PERMITTED BY LAW. IF ANY PROVISION OF
          THIS LIMITATION OF LIABILIry IS FOUND TO BE UNENFORCEABLE, ONLY SUCH PROVISION SHALL BE
          REMOVED AND THE REMAINDER SHALL BE ENFORCED TO THE GREATEST EXTENT PERMITTED BY LAW.

          10.2 You further understand and agree that Whoisguard disclaims any loss or liability resulting from:
            10.2.1 The inadvertent disclosure or theft of your personal information;

            IO.2.2 Access delays or interruptions to the whoisguard website or the websites of affiliated parties;

            t0.2.3 Data non-delivery or inaccurate delivery between you and the providers of the services;
            IO.2.4 The failure for whatever reason to renew the WHOIS Privacy Services;

            70.2.5 The unauthorized use of your account or any of the providers of services;

            10,2.6 Errors, omissions or misstatements by providers of services;

            L0,2.7 Deletion of, failure to store, failure to process or act upon email messages sent to or forwarded to
            either you or the email address listed for your protected domain;

            10,2.8 Processing of updated information regarding your accounU

            10.2.9 Any act or omission caused by you or your agents (whether authorized by you or not).

         10.3 YOU AGREE THAT, IN ANY EVENT, THE PRIMARY AND BACKEND SERVICE PROVIDERS'RESPECTIVE
         MAXIMUM LIABILIry TO YOU SHALL BE CAPPED BY THE LESSER OF THE AMOUNT OF FEES PAID BY YOU TO
         EACH SERVICE PROVIDER IN THE PRECEDING YEAR WITH RESPECTTO THE SERVICES WHICH GAVE RISE TO
         THE LIABILITY OR $100.00 pER PROTECTED DOMAIN,

       11 INDEMNIry AND DEFENSE
         11.1 With respect to ICANN, the registry operators, the registrar with which the Protected Domain is registered
         and Whoisguard, as well as the contractors, agents, employees, officers, directors, shareholders, and affiliates
         of such parties, you agree to defend, release, indemnify, and hold such parties harmless from all liabilities,
         claims and expenses, including attorney's fees and court costs, for third party claims relating to or arising under
         the Proxy Agreement, the WHOIS Privacy Services provided hereunder, or your use of the WHOIS Privacy
         Services, including, without limitation, infringement by you, or by anyone else using the WHOIS Privacy
         Services provided to you, of any intellectual property or other proprietary right of any person or entity, or from
         the violation of any of Whoisguard's operating rules or policies relating to the WHOIS Privacy Services provided.

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            11.2 When whoisguard may be involved in a suit involving a third party and which is related to the WHOIS
            Privacy Services administered by Whoisguard to you under this Proxy Agreement, Whoisguard may seek written
            assurances from you in which you promise to defend, indemnify and hold Whoisguard harmless from the costs
            and liabilities described in this paragraph. Such written assurances may include, in Whoisguard's sole
            discretion, the posting of a performance bond(s) or other guarantees reasonably calculated to guarantee
            payment. Your failure to provide such assurances may be considered by Whoisguard to be a breach of this
            Proxy Agreement by you and may, in Whoisguard's sole discretion, result in loss of your right to control the
            disposition of domain name services for which you are the registrant and in relation to which Whoisguard is the
            registrar of record.

            11.3 Should Whoisguard be forced to defend itself in any action or legal proceeding in connection with any
            WHOIS Privacy Services provided to you, you shall have sole responsibility to defend Whoisguard against any
            such claim by legal counsel of its choosing. This indemnification is in addition to any indemnification required
            under the Uniform Domain Name Dispute Resolution Policy ("UDRP").

            11,4You agree to release, defend, indemnify and hold harmless the Primary and Backend Service Providers,
            and their parent companies, subsidiaries, affiliates, shareholders, agents, directors, officers and employees and
            Your registrar, from and against any and all claims, demands, liabilities, losses, damages or costs, including
            reasonable attorney's fees, arising out of or related in any way to the Agreements, the web sites of the Service
            Providers, your Account, and/or your use of your Protected Domain.

            11.5 The terms of this Section will survive any termination or cancellation of this Proxy Agreement.

        12 BACKEND SERVICE PROVIDER WARMNTY DISCLAIMER
            12,1 THE BACKEND SERVICE PROVIDER, ITS PARENT COMPANIES, SUBSIDIARIES, AFFILIATES,
            SHAREHOLDERS, AGENTS, DIRECTORS, OFFICERS, AND EMPLOYEES EXPRESSLY DISCLAIM ALL
            REPRESENTATIONS AND WARMNTIES OF ANY KIND IN CONNECTION WITH THIS PROXY AGREEMENT, THE
            SERVICES PROVIDED HEREUNDER, THE WEB SITES OF THE BACKEND SERVICE PROVIDER OR ANY WEB SITES
            LINKED TO SUCH WEB SITES, WHETHER EXPRESS OR IMPLIED, INCLUDING, BUT NOT LIMITED TO, THE
         IMPLIED WARRANTIES OF TITLE, MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE AND NON-
         INFRINGEMENT. ALL BACKEND SERVICE PROVIDER SERVICES, AS WELL AS THE BACKEND SERVICE PROVIDER
         WEB SITE, ARE PROVIDED "AS IS". YOUR SUBSCRIPTION TO AND USE OF BACKEND SERVICE PROVIDER'S
         SERVICES AND ITS WEB SITE ARE ENTIRELY AT YOUR RISK. SOME JURISDICTIONS DO NOT ALLOW THE
         DISCLAIMER OF IMPLIED WARRANTIES, IN WHICH EVENT THE FOREGOING DISCLAIMER MAY NOT APPLY TO
         YOU. IF ANY PROVISION OF THIS LIMITATION OF LIABILIry IS FOUND TO BE UNENFORCEABLE, ONLY SUCH
         PROVISION SHALL BE REMOVED AND THE REMAINDER SHALL BE ENFORCED TO THE GREATEST EXTENT
            PERMITTED BY LAW.

        13 GOVERNING LAW AND JURISDICTION FOR DISPUTES
         13,1 Except as otherwise set forth in the UDRP or any similar ccTLD policy with respect to any dispute over a
         domain name registration this Proxy Agreement, your rights and obligations and all actions contemplated by
         this Proxy Agreement shall be governed by the laws of the Republic of Panama, as if the Proxy Agreement was
         a contract wholly entered into and wholly performed within the Republic of Panama.

         13.2 You agree that any action brought by you to enforce this Proxy Agreement or any matter brought by you
         and which is against or involves Whoisguard and which relates to your use of the Services shall be brought
         exclusively in the courts of Panama City, Republic of Panama.

         13.3 You consent to the personal and subject matter jurisdiction of the appropriate court in the Republic of
         Panama in relation to any dispute between you and Whoisguard under this Proxy Agreement.

         13.4 You agree that service of process on you by Whoisguard in relation to any dispute arising under this Proxy
         Agreement may be served upon you by first class mail to the address listed by you in your account and/or
         domain name WHOIS information or by electronically transmitting a true copy of the papers to the email
         address listed by you in your account and/or domain name WHOIS information.


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           13.5 YOU AGREE TO WAIVE THE RIGHT TO TRIAL BY JURY IN ANY PROCEEDING THAT TAKES PLACE RELATING
           TO OR ARISING OUT OF THIS PROXY AGREEMENT.

           13.6 THIS AGREEMENT IS MADE AND ENTERED INTO SOLELY FOR THE BENEFIT OF THE PARTIES DESIGNATED
           HEREIN. Nothing in this Agreement, express or implied, is intended to or shall confer upon any other person
           any right, benefit or remedy of any nature whatsoever under or by reason of this Agreement. Third parties
           claiming rights under this Agreement are specifically excluded.

        14 NOTICES
           14.1 You agree that any notices required to be given under this Proxy Agreement by Whoisguard to you will be
           deemed to have been given if delivered in accordance with the account and/or domain name WHOIS
           information you have provided.

        15 LEGAL AGE
           15.1You attest that you are of legal age to enter into this Proxy Agreement.

        16 FINAL AGREEMENT
           16.1This Proxy Agreement, the referenced agreements incorporated herein, the ICANN Policy and the UDRP,
           together with all modifications, constitute the complete and exclusive agreement between you and Whoisguard,
           and supersede and govern all prior proposals, agreements, or other communications, This Proxy Agreement
           may not be amended or modified by you except by means of a written document signed by both you and an
           authorized representative of Whoisguard.

        17 NO AGENCY RELATIONSHIP
           17.1 Nothing contained in this Proxy Agreement shall be construed as creating any agency, partnership, or
           other form of joint enterprise between the parties hereto, Each party shall ensure that the foregoing persons
           shall not represent to the contrary, either expressly, implicitly, by appearance or otherwise.

        18 NO WAIVER
           18.1 Any failure on the part of Whoisguard to require your performance of any provision hereof shall not affect
           the full right to require such performance at any time thereafter; nor shall the waiver by Whoisguard of a
           breach of any provision hereof be taken or held to be a waiver of the provision itself.

        19 ENFORCEABILITY
           19,1 In the event that any provision of this Proxy Agreement shall be unenforceable or invalid under any
           applicable law or be so held by applicable court decision, such unenforceability or invalidity shall not render this
           Proxy Agreement unenforceable or invalid as a whole. Whoisguard will amend or replace such provision with
           one that is valid and enforceable and which achieves, to the extent possible, the original objectives and intent
           as reflected in the original provision.

       20 ASSIGNMENT AND RESALE
         20.1 Except as otherwise set forth herein, your rights under this Proxy Agreement are not assignable or
         transferable. Any attempt by your creditors to obtain an interest in your rights under this Proxy Agreement,
         whether by attachment, levy, garnishment or otherwise, renders this Proxy Agreement voidable at the option of
         Whoisguard.

       21 FORCE MAJEURE
         21.1 Neither party shall be deemed in default hereunder, nor shall it hold the other party responsible for, any
         cessation, interruption or delay in the performance of its obligations hereunder due to causes beyond its control
         including, but not limited to: earthquake; flood; fire; storm; natural disaster; act of God; war; terrorism;
         armed conflict; labor strike; lockout; boycott; supplier failures, shoftages, breaches, or delays; or any law,
         order regulation, direction, action or request of the government, including any federal, state and local
         governments having or claiming jurisdiction over Whoisguard or its affiliates, or of any department, agency,

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          commission, bureau, corporation or other instrumentality of any federal, state, or local government, or of any
          civil or military authority; or any other cause or circumstance, whether of a similar or dissimilar nature to the
          foregoing, beyond the reasonable control of the affected party, provided that the party relying upon this
          Section (i) shall have given the other party written notice thereof promptly and, in any event, within five (5)
          days of discovery thereof and (ii) shall take all steps reasonably necessary under the circumstances to mitigate
          the effects of the force majeure event upon which such notice is based; provided fufther, that in the event a
          force majeure event described in this Section extends for a period in excess of thirty (30) days in the
          aggregate, Whoisguard may immediately terminate this Proxy Agreement.

        22 HEADINGS
          22.7The section headings appearing in this Proxy Agreement are inserted only as a matter of convenience and
          in no way define, limit, construe or describe the scope or extent of such section or in any way affect such
          section.




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    WHOISGUARD TERMS OF SERVICE
    TOS


      WHOISGUARD TERMS OF SERVICE


    1. ACCEPTANCE OF TERMS

    WhoisGuard, Inc., a Republic of Panama Corporation ("WhoisGuard") is an internet service provider for anonymous
    privacy protected domain registration services in connection with the WHOIS directory. By accessing, browsing,
    and/or using the website at www.whoisguard.com or any other website owned or controlled by WhoisGuard
    (collectively, the "Site"), including any service provided on or via the Site (the "Services"), you agree to be bound
    by these Terms of Service (the "TOS"), by the terms of the WhoisGuard Privacy Policy, incorporated herein by
    reference, and any other document, third party agreement or regulation referenced and incorporated herein. The
    Site, including all information, data, documents, content, materials, graphics, logos, and API code, (the "Content")
    is made available to you for your personal, non-commercial use and subject to the terms and conditions set forth
    in these TOS, whether purchased directly from WhoisGuard or through a registrar offering WhoisGuard's WHOIS
    privacy protection services. You may not otherwise utilize any of the Content without the express written consent
    of WhoisGuard, You do not acquire any ownership rights to any Content in the Site. Any unauthorized use
    terminates the permission or license granted by WhoisGuard. IF YOU DO NOT AGREE TO BE BOUND BY THESE
    TERMS AND CONDITIONS, THEN DO NOT USE OR ACCESS THE SITE/SERVICES. WhoisGuard reserves the right to
    change the TOS from time to time at its sole discretion. Your use of the Site will be subject to the most current
    version of the TOS posted on the Site. Any changes to the TOS shall be effective as of the date published. You
    acknowledge and agree that your only remedy if you do not agree with any such change is to stop using the Site
    and/or Services. No amendment or modification shall apply to a dispute under the Section entitled "Disputes -
    Arbitration" arising, or arising out of events occurring, before the amendment or modification became effective.


    2. ELIGIBLE   USERS

    You may not use the Site if (i) you are not at least 18 years old, or (ii) you lack legal capacity to enter into legally
    binding contracts, or (iii) use of the Site or Services is prohibited by law in the country where you are located.
    In this TOS "you" and "your" refer to you, the user, or any agent, employee, servant or person authorized to act
    on your behalf, and the Registrant listed in the WHOIS contact information for the domain name. This TOS explains
    WhoisGuard's obligations to you in connection with the Services, and explains your obligations to WhoisGuard for
    the Services offered by third party.


    3. SERVICES
    The public WHOIS Directory generally requires an email address for every purchased domain name registration.
    When you purchase the Services administered by WhoisGuard, an email address will be automatically generated
    for the corresponding Protected Domain (e.g. XXXXXX.protect@whoisguard.com). Thereafter, when messages are
    sent to the email address listed in the WhoisGuard address, WhoisGuard will forward such messages to the email
    address you provided to WhoisGuard, in accordance with this TOS. If such email address becomes non-functioning
    or if the email to such address bounces, WhoisGuard shall not be obligated to attempt to contact you through other
    means. You agree that WhoisGuard may elect, in its sole discretion, to allow you to access the email server logs if
    available and view email information sent to the WhoisGuard addresses, though such alternative means of
    servicing your account is an option and not a requirement. By subscribing to the Services, you are engaging
    WhoisGuard to substitute its own contact information for your information into the WHOIS database for the
    selected domain name ("Protected Domain"). Thus, your name, postal address, email address, phone and fax
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     numbers shall be kept confidential, subject to this TOS.
     The following information (and not your personal information) will be made publicly available in the WHOIS
     directory for each Protected Domain:
           a   An account specific WhoisGuard email address, and WhoisGuard postal address and phone and facsimile
               number for the registrant, administrative, technical, and billing contacts ("WhoisGuard Addresses");
           a   The primary and secondary domain name servers you designate for the Protected Domain;
           a   The Protected Domain's original date of registration and expiration date; and
           a   The identity of your registrar, domain name service provider (if different from registrar) and the status of
               the Protected Domain with the registrar (such as, "active,""Registrar Lock," "clienthold," etc.).
     You agree to:
           .   Update your information immediately as it changes over time;
           .   Respond within five (5) business days to any inquiries made by WhoisGuard to determine the validity of
               personal information provided by you;
           .   Promptly respond to messages regarding correspondence addressed to or involving your Protected
               Domain(s), as more fully set forth below.

     If you do not supply primary and secondary domain name servers, you agree that WhoisGuard may point your
     Protected Domain(s) to an IP address of its choosing until such time as you supply primary and secondary domain
     name servers.

     Whoisguard may modify its information from time to time in such a way which may constitute a "Change of
     Registrant" under ICANN's transfer policy (the "Transfer Policy"). In such a case, You and Whoisguard explicitly opt
     out of any 60-day inter-registrar transfer lock that would otherwise be imposed under the Transfer Policy due to
     any such Change of Registrant. In addition, You and Whoisguard explicitly authorize the registrar of the Protected
     Domain to act as its "Designated Agent" (as defined in the Transfer Policy) to approve each "Change of Registrant"
     (as defined in the Transfer Policy) on its behalf.

     Access to the Site and some of the Services may be without charge and/or without requiring prior registration.
     That does not alter the binding effect of these TOS. The Services and Content are available to you only if you have
     provided WhoisGuard certain Registration Information (as such term is defined in this TOS and the WhoisGuard
     Privacy Policy). Before using any of the chargeable Services, you will be asked to review and accept the fees
     applicable. All fees are non-refundable and due in advance. Users who wish to purchase the Services may pay the
     applicable fees via either credit card (Visa, MasterCard or American Express) or Paypal. All credit card transactions
     are subject to anti-fraud measures. Please do not attempt to use a credit card from a country other than the one in
     which it was issued. By purchasing services via credit card, you agree to allow WhoisGuard to immediately charge
     the credit card for the full amount and to rebill the card for the total monthly or yearly cost of the Services on the
     designated renewal date. Services are offered at WhoisGuard's sole discretion and may be temporarily or
     permanently disabled at any time for any reason, including but not limited to the use of fraudulent, stolen or
     incorrect payment credentials or instruments on the Site, the failure to respond to a request for verification of
     payment credentials, or the use of automated processes or scripts to access or obtain information from
     WhoisGuard. You hereby agree and accept that WhoisGuard and any of its third-party subscribing registrars may
     be lCANN-accredited and therefore under an obligation to comply with ICANN rules.


     4. USE    OF CONTENT

     The Content may be used solely for informational, personal, non-commercial purposes. Without the prior written
     consent of, or unless specifically allowed by certain paid Services, you are not allowed to copy, download, print,
     distribute, republish, sell or otherwise use or make the Content available to others. You may not use the Site or
     any Services provided through, or in connection therewith, to; (a) defame, abuse, harass, threaten or otherwise
     violate the legal rights (such as rights of privacy and publicity) of others; (b) conduct or forward illegal contests,
     pyramid schemes, or chain letters; (c) publish, post, distribute, disseminate or link to any: (i) inappropriate,
     profane, defamatory, infringing, obscene, adult content, nude, indecent or unlawful topic, name, material or
     information; (ii) software or other material protected by intellectual property laws, copyright licenses, rights of
     privacy or publicity, or other proprietary rights, unless you own, control such rights or have received all necessary
     consents for your use of such software and other materials; (iii) software or other material that contains viruses,
     corrupted files, or that may, or are intended to, damage the operation of another's computer (e.g., "cracks,"
     "hacks," or other programs written to defeat the security measures of any computer, system or program(s)); (d)
     sell, distribute, disseminate or link to any sites for marketing, sales or distribution of: firearms, explosives,
     ammunition, liquor, tobacco products, food that is not packaged or does not comply with all applicable laws for
     sale to consumers by commercial merchants, pharmaceuticals and controlled substances, counterfeit, pirated or

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     stolen goods, fraudulent goods, any goods or services that infringe or otherwise violate a third party's rights,
     registeied or unregistered securities, goods or services that: (i) you cannot legally sell, (ii) are misrepresented,
     and/or (iii) if sold, would cause WhoisGuard to violate any law, statute or regulation; (e) harvest or otherwise
     collect information about third parties, including email addresses, without the express consent of such third
     parties; (f) restrict or inhibit any other user from using and enjoying its rights in the Services or the Site,
     interfering with or dlsrupting the Services or the Site service or servers or network connected to the Site; (g)email
     or otherwise transmit, distribute, publish or disseminate any junk email, spam, chain letters, pyramid schemes, or
     any other form of duplicative or inappropriate solicitations or messages (commercial or otherwise); (h) violate the
     rights of any third parties, including, but not limited to, trademark, naming or publicity rights, or violate any
     applicable government laws or regulations. WhoisGuard does not condone or allow spam. You may not use the Site
     or Services to advertise, promote, market or solicit offers to acquire goods/services that compete with the Services
     or Site. You hereby agree and accept that WhoisGuard will cooperate with legal authorities and Internet service
     providers in releasing information about users who violate these TOS or any incorporated terms and conditions.
     When WhoisGuard receives a communication to the Protected Domain, WhoisGuard will send an email to the email
     address you provided to WhoisGuard in accordance with this TOS, The email message from WhoisGuard to you will
     identify the sender of the correspondence and the date received. As an alternative, you agree that WhoisGuard
     may allow you to access your account to view full or partial scanned copies of (non-email) communications sent to
     the Protected Addresses and that you may be required to interact with your account to have the physical originals
     of such communications forwarded to you and that if you do not interact with your account in the ways indicated
     upon accessing your account, that the communications may not be forwarded to you. In either event, you will have
     seventy-two (72) hours to decide whether to have the communication(s) forwarded. If you do not respond within
     this time period, the communication(s) will not be forwarded. Method of forward will be determined by
     WhoisGuard. Communication(s) may not be immediately forwarded upon your election; there may be a delay and
     communication(s) may be aggregated to be forwarded together.


     5. REPRESENTATIONS AND WARRANTIES
     You represent and warrant that all information provided by you pursuant to this TOS is truthful, complete, current
     and accurate and you represent and warrant that you will maintain all information in this status throughout the
     term of the TOS.
     You also represent and warrant that you are using the Services in good faith and that you have no knowledge or
     reason to believe that your Protected Domain or the content found at any associated IP address infringes upon or
     conflicts with the legal rights of any third party or any third party's trademark or trade name.
     You also warrant that neither the Services nor Protected Domain(s) will be used in connection with any illegal or
      morally objectionable activity, or, in connection with the transmission of unsolicited commercial email(s) ("spam").
      Further, you represent and warrant that you will not provide any third party with the WhoisGuard addresses for the
      purpose of having such third party transmit communications to you through WhoisGuard. You agree that from time
     to time, WhoisGuard will review communications sent to the WhoisGuard addresses associated with your Protected
      Domain. For communications received via certified or traceable courier mail (such as UPS, FedEx, or DHL), or first
     class mail which does not appear to be unsolicited commercial mail, you agree that WhoisGuard may either: ( i)
     forward such communication to you; or (ii) may attempt to communicate to you a scanned copy of a page of the
     communication to ascertain how you wish WhoisGuard to proceed with respect to that communication.
     You understand that WhoisGuard may, in its own judgment and discretion, elect to not forward to you such first
     class postal mail or email, fax, postal mail or telephone communications which appear to be unsolicited
     communications, which offer or advertise the sale of goods or services or which solicit charitable contributions, or
     communications which appear to arise from your use of the Services administered by WhoisGuard as a general
      mail forwarding service, You authorize WhoisGuard to either discard all such communications or return all such
     communications to sender unopened.
     You agree to waive any and all claims arising from your failure to receive communications directed to your domain
     name but not forwarded to you by WhoisGuard, including such failures which arise from WhoisGuard's mistake of
     judgment made in good faith in determining whether a communication is or is not an unsolicited communication.
     In the event you do not respond to communications from WhoisGuard, irrespective of whether WhoisGuard is
     forwarding an email or making an unrelated inquiry or communication, you understand and agree that WhoisGuard
     may immediately reveal the information you provided in accordance with this TOS and/or cancel the Services
     regarding either the Protected Domain in question or with respect to all of your Protected Domains, depending on
     the circumstances. This means the WHOIS directory will revert to displaying your name, postal address, email
     address and phone number.


     6. INTELLECTUAL          PROPERTY

     Except materials provided by you and accepted by us ("your data"), you may not modify, copy, distribute,
     transmit, display, perform, reproduce, publish, license, create derivative works from, transfer, or sell any
     information, software, products, services or benefits obtained from the Site, except as expressly provided herein.
     Except as to your data, all content, database information, data and services available on, and collected as a whole
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     through this Site, are property of WhoisGuard, its affiliates, advertisers and licensors, and are protected by
     copyrights, trademarks, service marks, patents/ trade secrets, and other proprietary rights and laws in the
     Republic of Panama and internationally. Certain names, products or services that may be mentioned in the Site
     may be the trademarks of their respective owners. All rights are reserved. WhoisGuard respects the intellectual
     property of others. If you believe that your rights are being infringed, please submit a notice of your claim to the
     following Designated Agent:
     WhoisGuard Inc.
     P.O. Box 0823-03411
     Panama
     Republic of Panama


     7. RESERVATION OF RIGHTS
     WhoisGuard reseryes the right to limit or refuse users access to the Site or any Service. WhoisGuard reserves the
     right to change the requirements for accessing the Site and the Services at any time and for any reason at its sole
     discretion, including changes to membership fees or other fees for Services. WhoisGuard reserves the right to
     alter, suspend, or discontinue the Site or any of the Services at any time and for any reason, without prior notice
     to you. The Site may become unavailable due to maintenance or malfunction of computer equipment or other
     reasons. WhoisGuard may at any time block your access to the Site if :
           .   You have breached any provision of the TOS (or have acted in a manner that clearly shows you do not
               intend to, or are unable to, comply with the TOS);
           .   WhoisGuard is required to do so by Law (for example, where the provision of the Site, Services or Content
               to you is, or becomes, unlawful);
           .   The provision of the Site or Services to you by WhoisGuard is, in WhoisGuard's opinion, no longer
               commercially viable; or
           .   WhoisGuard has elected to discontinue the Site or Services (or any part thereof).

     WhoisGuard shall not be liable to you or any third party for any termination or cancellation of your access to, or
     use of, the Site.
     You will retain the right to sell, transfer, or assign each Protected Domain, You will retain the right to control and
     set the DNS settings for the Protected Domain(s). You will retain the right to renew each Protected Domain name
     registration upon expiration (subject to WhoisGuard's applicable rules and policies). You will remain responsible for
     resolving any and all monetary or other legal claims that arise in connection with your Protected Domain(s),
     subject to the remaining provisions of this TOS, and any other agreement you may have with any other service
     provider.


     8. THIRD PARTY WEB SITES

    The Site may provide links to third-party websites, which are not under the control of WhoisGuard. WhoisGuard
    makes no representations about third-party web sites, WhoisGuard is not responsible for the reliability of any data,
    opinions, advice, or statements made on third-party sites. WhoisGuard provides these links merely as a
    convenience. The inclusion of such links does not imply that WhoisGuard endorses, recommends, or accepts any
    responsibility for the content of such sites. WhoisGuard shall not be liable, directly or indirectly, for any damage or
    loss caused or alleged to be caused by the use of a third-party web site or any information or materials received
    from a third-party web site.


     9. TERM AND TERMINATION

    You remain bound by these terms and conditions until and unless the TOS is properly terminated. You may
    terminate the TOS provided that you have no outstanding payment or other obligations due to WhoisGuard.
    WhoisGuard may terminate the TOS and/or your access to the Site or any Services at any time, with or without
    cause or notice, and without liability. Notwithstanding termination of the TOS by you or by WhoisGuard, the
    provisions in this TOS shall remain in full force and effect. Upon termination, you will no longer have access to any
    data or information you had previously created, maintained, managed, or stored in or through the Site, and
    WhoisGuard is under no obligation to maintain any such data or information.
    You understand that the term of the Services administered by WhoisGuard begins on the date your attempt to
    purchase the Services is accepted by WhoisGuard and that it shall run for the unit of time which you order
    ("Term"). You understand that the Term may be different than the registration term of the Protected Domain which
    is associated with WhoisGuard. If a Protected Domain registration expires and is deleted before the end of the
    Term of the associated Services, then the Services associated with the domain will end when the Protected Domain
    is deleted, and you understand that there will be no refund for any resulting unused portion of the Term. If the
    Term ends while the registration term for the Protected Domain is still ongoing, then the Services will no longer be
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     provided, the personal information specified in this TOS shall be listed in the public WHOIS Directory output for the
     (then former) Protected Domain, and the communications forwarding services specified in this TOS will no longer
     be provided.
     Notwithstanding your purchase of the Services administered by WhoisGuard, WhoisGuard reserves the right in its
     sole judgment and discretion to disclose your personal protected information, or instruct WhoisGuard to disclose
     such information, in the event any of the following occur:
            a   If the Protected Domain(s) is (are) alleged to violate or infringe a third party's trademark, trade name,
                copyright interests or other legal rights of third parties;
            a   If you breach any provision of this TOS;
                If you breach any provision of the Agreements incorporated herein by reference;
                If necessary to comply with any applicable laws, government rules or requirements, subpoenas, court orders
                or requests of law enforcement;
                If WhoisGuard is named as a defendant in, or investigated in anticipation of, any legal or administrative
                proceeding arising out of your use of the WHOIS Privacy Services or a Protected Domain;
                If necessary to comply with ICANN's Dispute Resolution Policy or other policies promulgated by ICANN;
                If necessary to avoid any financial loss or legal liability (civil or criminal) on the part of WhoisGuard or its
                parent companies, subsidiaries, affiliates, shareholders, agents, officers, directors and employees;
                If necessary to protect the integrity and stability of the applicable domain name registry; or
                If it comes to Backend Service Provider's attention that you are alleged to be using the WHOIS Privacy
                Services administered by WhoisGuard for purposes of engaging in, participating in, sponsoring or hiding
                your involvement in illegal or morally objectionable activities, including but not limited to, activities which
                are designed, intended to or otherwise:
                        { Appeal primarily to prurient interests;
                        .{ Defame, embarrass, harm, abuse, threaten, or harass;
                        { Violate state or federal laws of the United States and/or foreign territories;
                        .( Involve hate crimes, terrorism or child pornography;
                       ,( Are tortious, vulgar, obscene, invasive of a third party's privacy, race, ethnicity, or are otherwise
                       objectionable;
                       ,t Impersonate the identity of a third party;
                       ,{  Harm minors in any way; or
                       {   Relate to or transmit viruses, trojan horses, access codes, backdoors, worms, timebombs or any
                       other code, routine, mechanism, device or item that corrupts, damages, impairs, interferes with,
                       intercepts or misappropriates any software, hardware, firmware, network, system, data or personally
                       identifiable information.

     In the event WhoisGuard decides to take any of the actions set forth above or in the event you elect to cancel the
     Services administered by WhoisGuard for any reason, WhoisGuard shall not be liable for fees paid by you for the
     Services administered by WhoisGuard.


     10, RENEWAL AND               FEES

     If you have selected automatic renewal of the Services administered by WhoisGuard/ you agree:
            .   That the Services shall be automatically renewed 30 days prior to the end of term of your agreement for
                Services with WhoisGuard;
            .   That WhoisGuard will attempt to charge your WhoisGuard account at the then current rates;
            .   That you waive any requirement to obtain your ongoing affirmative consent to any such automatic renewal.

     If you do not wish to automatically renew the Services administered by WhoisGuard, you agree that the exclusive
     method for communicating this shall be by logging into your WhoisGuard Account to ensure that the auto-renewal
     or renewal option is not selected. You understand that you must do this at least 31 days prior to the end of the
     then current Term (as defined herein).
     It is your responsibility to keep necessary funds in your WhoisGuard Account. If WhoisGuard is unable to collect
     renewal or other fees, you agree that WhoisGuard may contact you, but is not obliged to do so, and you agree that
     WhoisGuard may suspend or terminate the Services as a result of inability to obtain payment.
     You agree to submit to fees where WhoisGuard may begin charging fees for forwarding communications or may
     change the method by which communications are forwarded without written notice.


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     1   1. LIABILITY DISCLAIMER
     YOUR USE OFTHE SITE AND/OR SERVICES, INCLUDING ANY DATA PROVIDED, IS ATYOUR SOLE RISK. THE
     ACCUMCY, CONDITION AND AVAILABILITY OF THE SITE AND SERVICES ARE PROVIDED ON AN "AS IS" BASIS,
     WHOISGUARD EXPRESSLY DISCLAIMS ALL WARRANTIES OF ANY KIND, EXPRESS OR IMPLIED, INCLUDING,
     WITHOUT LIMITATION, ANY IMPLIED WARRANTY OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR
     PURPOSE. WHOISGUARD MAKES NO WARRANTY THAT: (i) THE INFORMATION ON THIS SITE IS CORRECT,
     ACCURATE OR RELIABLE; (ii) THE FUNCTIONS CONTAINED ON THIS SITE WILL BE UNINTERRUPTED OR ERROR-
     FREE; OR (iii) DEFECTS WILL BE CORRECTED, OR THAT THIS SITE OR THE SERVER THAT MAKES IT AVAILABLE
     ARE FREE FROM VIRUSES OR OTHER HARMFUL COMPONENTS. IN NO EVENT SHALL WHOISGUARD, ITS
     AFFILIATES, PARENTS, SUBSIDIARIES, OFFICERS, DIRECTORS, EMPLOYEES, OR SUPPLIERS BE LIABLE FOR LOST
     PROFITS OR ANY SPECIAL, INCIDENTAL, OR CONSEQUENTIAL DAMAGES ARISING OUT OF OR IN CONNECTION
     WITH THE SITE, THE SERVICES, OR THESE TOS (HOWEVER ARISING, INCLUDING GROSS NEGLIGENCE).
     WITHOUT AFFECTING THE LIMITATIONS OF LIABILITY IN THIS SECTION, THE LIABILITY OF WHOISGUARD,
     AND/OR ITS AFFILIATES, PARENTS, SUBSIDIARIES, OFFICERS, DIRECTORS, EMPLOYEES, AND SUPPLIERS, TO
     YOU OR ANY THIRD PARTIES IS LIMITED IN ALL CIRCUMSTANCES TO $1.00 OR THE MINIMUM AMOUNT SET BY
     LAW IN THE CORRESPONDING JURISDICTION WHERE THE DISPUTE IS ADJUDICATED, WHICHEVER IS LOWER.
     You further understand and agree that WhoisGuard disclaims any loss or liability resulting from:
            .   The inadvertent disclosure or theft of your personal information;
            .   Access delays or interruptions to the Site or the websites of affiliated parties;
            .   Data non-delivery or inaccurate delivery between you and the providers of any third-party services;
            .   The failure for whatever reason to renew the Services;
            .   The unauthorized use of your account with WhoisGuard or any of the third party providers of services;
            .   Errors, omissions or misstatements by WhoisGuard or any third party providers of services;
            .   Deletion of, failure to store, failure to process or act upon email messages sent to or forwarded to either you
                or the email address listed for your Protected Domain;
            .   Processing of updated information regarding your account;
            .   Any act or omission caused by you or your agents (whether authorized by you or not).


     12. INDEMNIFICATION

     YOU AGREE TO INDEMNIFY, DEFEND, AND HOLD WHOISGUARD AND ANY PARENT, SUBSIDIARY, AFFILIATE,
     OFFICER, DIRECTOR, AGENT, AND EMPLOYEE (EACH AN "INDEMNITEE") HARMLESS FROM ANY LOSS, LIABILIry,
     EXPENSE, CLAIM OR DEMAND (INCLUDING REASONABLE ATTORNEYS'FEES) (COLLECTIVELY"CLAIM"), ARISING
     DIRECTLY OR TNDTRECTLY OUT OF OR rN CONNECTTON WrTH (i) ANY ACT OR OMISSION BY YOU, INCLUDING
     YOUR USE OF THE SITE OR ANY SERVICES, OR YOUR BREACH OF THIS TOS OR ANY OTHER AGREEMENT WITH
     ANY THIRD PARry OR WITH WHOISGUARD, INCLUDING ONE INCORPORATED BY REFERENCE, (ii) YOUR
     VIOLATION OF ANY LAW OR THE RIGHTS OF WHOISGUARD OR ANY THIRD PARTY, INCLUDING ANY ALLEGED OR
     ACTUAL VIOLATION OF ANY INTELLECTUAL PROPERTY OR PRIVACY RIGHTS, AND/OR (iii) ANY ACT OR OMISSION
     ON THE PART OF ANY INDEMNITEE (PROVIDED THAT YOU SHALL NOT BE OBLIGATED TO INDEMNIFY AS TO ACTS
     OR OMISSIONS BY INDEMNITEES TO THE EXTENT SUCH CLAIM AROSE AS A DIRECT CONSEQUENCE OF AN
     INTENTIONAL ACT BY SUCH INDEMNITEE).
     With respect to ICANN, the registry operators, the registrar with which the Protected Domain is registered and
     WhoisGuard, as well as the contractors, agents, employees, officers, directors, shareholders, and affiliates of such
     parties, you agree to defend, release, indemnify, and hold such parties harmless from all liabilities, claims and
     expenses, including attorney's fees and court costs, for third party claims relating to or arising under the TOS, the
     Services provided hereunder, or your use of the Services, including, without limitation, infringement by you, or by
     anyone else using the Services provided to you, of any intellectual property or other proprietary right of any
     person or entity, or from the violation of any of WhoisGuard's TOS, operating rules or policies relating to the
     Services provided.
     When WhoisGuard may be involved in a suit involving a third party and which is related to the Services
     administered by WhoisGuard to you under this TOS, WhoisGuard may seek written assurances from you in which
     you promise to defend, indemnify and hold WhoisGuard harmless from the costs and liabilities described in this
     paragraph. Such written assurances may include, in WhoisGuard's sole discretion, the posting of a performance
     bond(s) or other guarantees reasonably calculated to guarantee payment. Your failure to provide such assurances
     may be considered by WhoisGuard to be a breach of this TOS by you and may, in WhoisGuard's sole discretion,
     result in loss of your right to control the disposition of domain name services for which you are the registrant and
     in relation to which WhoisGuard is the service provider.
     Should WhoisGuard be forced to defend itself in any action or legal proceeding in connection with any of the
     Services provided to you, you shall have sole responsibility to defend WhoisGuard against any such claim by legal
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     counsel of its choosing. This indemnification is in addition to any indemnification required under the Uniform
     Domain Name Dispute Resolution Policy ("UDRP").
     You agree to release, defend, indemnify and hold harmless the Primary and Backend Service Providers, and their
     parent companies, subsidiaries, affiliates, shareholders, agents, directors, officers and employees and your
     registrar, from and against any and all claims, demands, liabilities, losses, damages or costs, including reasonable
     attorney's fees, arising out of or related in any way to this TOS, the websites of other third party service providers,
     your WhoisGuard account, and/or your use of the Protected Domain.
     The terms of this Section will survive any termination or cancellation of this TOS.


      13, UNIFORM DOMAIN NAME DISPUTE RESOLUTION POLICY ("UDRP")

     The UDRP adopted by the Internet Corporation for Assigned Names and Numbers ("ICANN") sets forth the terms
     and conditions in connection with a dispute between a registrant and any party (other than the registrar) over the
     registration and use of an Internet domain name. The UDRP is incorporated by reference into a third party domain
     name registration agreement entered into between domain name registrants and their third party registrars.
     You agree and understand that WhoisGuard is a privacy registration service; it is not a registrar. Both domain
     name registrants who utilize WhoisGuard privacy registration services, and those who would dispute the
     registration and use of an Internet domain name by a WhoisGuard customer, are advised to refer to the UDRP as
     well as the applicable domain name registration agreement.
     WhoisGuard routinely receives notices from its affiliated registrars informing it of the filing of various
     administrative proceedings under the UDRP. Upon receipt of such notices, WhoisGuard cancels its privacy service
     for the domain name that is the subject of the dispute and notifies its customer about the cancellation of service.
     You agree and understanding that WhoisGuard does not and will not participate in the administration or conduct of
     any Policy proceedings and will not be liable as a result of any decisions rendered by any administrative panel
     adjudicating such UDRP proceedings. In the event that WhoisGuard is named as a party in any such proceedings, it
     reseryes the right to raise any and all defenses deemed appropriate and to take any other action necessary to
     defend itself.


      14. GOVERNING LAW AND ]URISDICTION

     Except as otherwise set forth in the UDRP or any similar ccTLD policy with respect to any dispute over a domain
     name registration, this TOS, your rights and obligations and all actions contemplated by this TOS shall be
     governed by the laws of the Republic of Panama, as if the TOS was a contract wholly entered into and wholly
     performed within the Republic of Panama.
     You agree that any action brought by you to enforce this TOS or any matter brought by you and which is against
     or involves WhoisGuard and which relates to your use of the Services shall be brought exclusively in the courts of
     Republic of Panama.
     You consent to the personal and subject matter jurisdiction of the appropriate court in the Republic of Panama in
     relation to any dispute between you and WhoisGuard under this TOS.
     You agree that service of process on you by WhoisGuard in relation to any dispute arising under this TOS may be
     served upon you by first class mail to the address listed by you in your account and/or domain name WHOIS
     information or by electronically transmitting a true copy of the papers to the email address listed by you in your
     account and/or domain name WHOIS information.
     You agree to waive the right to trial by jury in any proceeding that takes place relating to or arising out of this
     TOS. This TOS is made and entered into solely for the benefit of the parties designated herein. Nothing in this TOS,
     express or implied, is intended to or shall confer upon any other person any right, benefit or remedy of any nature
     whatsoever under or by reason of this TOS. Third parties claiming rights under this TOS are specifically excluded.


     15. NOTICES

     You agree that any notices required to be given under this TOS by WhoisGuard to you will be deemed to have been
     given if delivered in accordance with the account and/or domain name WHOIS information you have provided.


     16. FINAL AGREEMENT

     This TOS, the referenced agreements incorporated herein, the ICANN Policy and the UDRP, together with all
     modifications, constitute the complete and exclusive agreement between you and WhoisGuard, and supersede and
     govern all prior proposals, agreements, or other communications. This TOS may not be amended or modified by
     you except by means of a written document signed by both you and an authorized representative of WhoisGuard.


     17, NO AGENCY RELATIONSHIP

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      Nothing contained in this TOS shall be construed as creating any agency, partnership, or other form of joint
      enterprise between the parties hereto. Each party shall ensure that the foregoing persons shall not represent to
      the contrary, either expressly, implicitly, by appearance or otherwise.

      18. NO WAIVER
      Any failure on the part of WhoisGuard to require your performance of any provision hereof shall not affect the full
      right to require such performance at any time thereafter; nor shall the waiver by WhoisGuard of a breach of any
      provision hereof be taken or held to be a waiver of the provision itself.


      19. ENFORCEABILIry
      In the event that any provision of this TOS shall be unenforceable or invalid under any applicable law or be so held
      by applicable court decision, such unenforceability or invalidity shall not render this TOS unenforceable or invalid
      as a whole. WhoisGuard will amend or replace such provision with one that is valid and enforceable and which
      achieves, to the extent possible, the original objectives and intent as reflected in the original provision,


      20. ASSIGNMENT AND           RESALE

     Your rights under this TOS are not assignable or transferable. Any attempt by your creditors to obtain an interest
     in your rights under this TOS, whether by attachment, levy, garnishment or otherwise, renders this TOS voidable
     at the option of WhoisGuard.
     WhoisGuard may freely assign or delegate all or any part of its rights or obligations under these TOS without prior
     notice or consent.


      21. FORCE MA]EURE
      Neither party shall be deemed in default hereunder, nor shall it hold the other party responsible for, any cessation,
      interruption or delay in the performance of its obligations hereunder due to causes beyond its control including, but
      not limited to: earthquake; flood; fire; storm; natural disaster; act of God; war; terrorism; armed conflict; labor
     strike; lockout; boycott; supplier failures, shortages, breaches, or delays; or any law, order regulation, direction,
     action or request of the government, including any federal, state and local governments having or claiming
     jurisdiction over WhoisGuard or its affiliates, or of any department, agency, commission, bureau, corporation or
     other instrumentality of any federal, state, or local government, or of any civil or military authority; or any other
     cause or circumstance, whether of a similar or dissimilar nature to the foregoing, beyond the reasonable control of
     the affected party, provided that the party relying upon this Section (i) shall have given the other party written
     notice thereof promptly and, in any event, within five (5) days of discovery thereof and (ii) shall take all steps
     reasonably necessary under the circumstances to mitigate the effects of the force majeure event upon which such
     notice is based; provided further, that in the event a force majeure event described in this Section extends for a
     period in excess of thirty (30) days in the aggregate, WhoisGuard may immediately terminate this TOS.


     22. HEADINGS
     The section headings appearing in this TOS are inserted only as a matter of convenience and in no way define,
     limit, construe or describe the scope or extent of such section or in any way affect such section.




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